       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 1 of 19



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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

GINA JAEGER, individually, AND AS) Cause No. CV-16-30-BU-SEH
PERSONAL REPRESENTATIVE OF       )
THE ESTATE OF HER SISTER         )
CHARLENE HILL,                   )
                                 ) GENESIS HEALTHCARE INC’S
         Plaintiff,              ) BRIEF IN SUPPORT OF ITS
                                 ) MOTION TO DISMISS
    vs.                          ) PLAINTIFF’S AMENDED
                                 ) COMPLAINT WITH PREJUDICE
WILLIAM POWELL, DANA             )
WADDELL, AMBER DAYHUFF,          )
PEAK MEDICAL MONTANA             )
OPERATIONS, LLC AND GENESIS )
HEALTHCARE, INC.,                )
                                 )
         Defendants.             )
    _________________________________________________________
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 2 of 19



      Genesis Healthcare, Inc. (“Genesis”) files this brief in support of its Motion

to Dismiss Plaintiff’s Amended Complaint with Prejudice. Plaintiff’s claims

against Genesis should be dismissed for: (1) failure to state a claim upon which

relief can be granted (Fed. R. Civ. P. 12(b)(6)); (2) lack of personal jurisdiction

(Fed. R. Civ. P. 12(b)(2)); (3) insufficient process (Fed. R. Civ. P. 12(b)(4)); and

(4) insufficient service of process (Fed. R. Civ. P. 12(b)(5)). For the reasons set

forth below, Genesis respectfully requests the Court dismiss Plaintiff’s claims

against Genesis with prejudice.

                                  BACKGROUND

      On April 21, 2016, Plaintiff filed a Complaint in the Montana Second

Judicial District Court, Silver Bow County, against Genesis Healthcare, Inc., d/b/a

the Butte Center. Plaintiff served the Director of the Butte Center, which is owned

by Peak Medical Montana Operations, LLC, d/b/a Butte Center (“Peak”). Doc. 12-

1, Clark Affidavit, ¶ 2; Ex. 1 attached thereto, April 25, 2016 Summons. On June

2, 2016, Peak filed an Answer. In the Answer, Peak denied Plaintiff’s allegations

and explained the Butte Center is not an assumed name of Genesis. Doc. 1-1; Ex.

B attached thereto, Answer, ¶ 18. Butte Center is registered with the Montana

Secretary of State as an assumed business name of Peak. Doc. 12-1, Clark

Affidavit, ¶ 2; Ex. 2 attached thereto, Montana Principal Information for “Butte

Center.”


                                           2
          Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 3 of 19



        Genesis is a Delaware Corporation with its principal place of business in

California. Id. at ¶ 4; Ex. 6 attached thereto, Delaware Entity Details for Genesis;

see also, Doc. 28, Amend. Compl., ¶ 6. Peak is a Delaware limited liability

company authorized to do business in Montana. 1 Doc. 12-1, Clark Affidavit, ¶ 2;

Ex. 3 attached thereto, Delaware Entity Details for Peak; see also Ex. 4 attached

thereto, Montana Entity Details for Peak. Peak, not Genesis, operates the Butte

Center, a skilled nursing facility located in Butte, Montana. Id., ¶ 2; Ex. 2 attached

thereto, Montana Principal Information for “Butte Center.”

        Peak is an indirect subsidiary of Genesis. Id., ¶ 5. Genesis is not

incorporated in Montana, nor does it have a physical presence in Montana. Doc.

12-1, Clark Affidavit, ¶ 4. Genesis does not do business as Peak or as the Butte

Center. Id., ¶ 5. Despite the fact that Peak, not Genesis, is the entity doing

business as Butte Center, Plaintiff mailed to Genesis a Summons and Complaint

incorrectly naming “Genesis Healthcare, Inc., d/b/a The Butte Center” as a

Defendant on June 6, 2016. See Id., ¶ 3; Ex. 5 attached thereto, June 6, 2016

Summons.




1
  Peak changed its business structure from being a corporation to a limited liability company in 2015. This change
in business structure is explained in more detail in Peak’s and Genesis’s Response to Plaintiff’s Amended Motion to
Remand, Doc. 24 at 7.


                                                        3
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 4 of 19



      Genesis acknowledged service on June 30, 2016, but noted it was incorrectly

identified in the caption. Doc. 9, Acknowledgement of Service. Genesis then filed

a Motion to Dismiss with Prejudice. Doc. 12, Mot. to Dismiss.

      The Court held a hearing on July 26, 2016, to hear oral argument on the

parties’ pending motions. Doc. 25, Hearing Minute Entry. Following the hearing,

the Court issued an Order dismissing Genesis without prejudice and allowing

Plaintiff until August 5, 2016, to file an amended complaint. Doc. 27, Order. Per

the Court’s request at the July 25, 2016, hearing, Genesis has attached an affidavit

illustrating that there are eight entities between Peak and Genesis. Ex. A, Fourth

Clark Affidavit, ¶ 3.

      Plaintiff filed an Amended Complaint on August 2, 2016, naming Genesis as

a defendant. Doc. 28, Amend. Compl. Plaintiff now alleges Genesis is liable

under the doctrine of piercing the corporate veil. Id., ¶¶ 10-11. To date, Plaintiff

still has not properly served Genesis with a copy of the original Complaint or

Amended Complaint.

                                   ARGUMENT

I.    PLAINTIFF HAS FAILED TO STATE A CLAIM UPON WHICH
      RELIEF CAN BE GRANTED UNDER THE DOCTRINE OF
      PIERCING THE CORPORATE VEIL.

      Plaintiff’s claim should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) as

she has failed to state a claim upon which relief can be granted. Plaintiff’s


                                          4
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 5 of 19



complaint is insufficient to support the piercing the corporate veil claim she alleges

against Genesis.

       Dismissal is appropriate under Federal Rule of Civil 12(b)(6) when there is

“either a ‘lack of a cognizable legal theory’ or ‘the absence of sufficient facts

alleged under a cognizable legal theory.’” Johnson v. Riverside Healthcare Sys.,

LP, 534 F.3d 1116, 1121–22 (9th Cir.2008) (quoting Balistreri v. Pacifica Police

Dep’t, 901 F.2d 696, 699 (9th Cir.1990)). A claim should be dismissed if a

plaintiff fails to allege sufficient facts to state a claim to relief that is plausible on

its face. Conservation Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir. 2011).

       To avoid dismissal, a complaint must “give the defendant fair notice of what

the . . . claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555, 127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007) (quoting

Conley v. Gibson, 355 U.S. 41, 47 (1957)). A pleader must provide more than

“labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Id., 550 U.S. at 555, 127 S. Ct. at 1965, 167 L. Ed. 2d.

“Factual allegations must be enough to raise a right to relief above the speculative

level.” Id. As a general rule, well-pled factual allegations are viewed in the light

most favorable to the non-moving party. Adams v. Johnson, 355 F.3d 1179, 1183

(9th Cir. 2004). A court should not, however, consider factual allegations

“outside” the complaint. Schneider v. California Dept. of Corrections, 151 F.3d


                                             5
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 6 of 19



1194, 1197 n.1 (9th Cir. 1998). Further, “conclusory allegations and unwarranted

inferences” are “insufficient to defeat a motion to dismiss.” Johnson v. Lucent

Techs. Inc., 653 F.3d 1000, 1010 (9th Cir.2011).

      Currently Plaintiff raises a piercing the corporate veil argument against

Genesis in her Amended Complaint, alleging Genesis exerts control over Peak and

Peak is a “mere agent or instrumentality of Genesis.” Doc. 28, Amend. Compl,

¶ 11. Specifically, she alleges Peak is merely Genesis’s alter ego because (1) the

two entities share the same address, (2) the two entities operate the same type of

business, and (3) Genesis has copyrighted a code of conduct used at the Butte

Center. Even viewing these allegations in a light most favorable to Plaintiff,

Plaintiffs’ factual and legal allegations are insufficient to raise a claim against

Genesis pursuant to Rule 12(b)(6).

      It is well established that a parent corporation is not liable for the actions of

its subsidiary. See United States v. Bennett, 621 F.3d 1131, 1137 (9th Cir. 2010);

Guschausky v. Am. Family Life Assur. Co. of Columbus, No. CV 10-59-H-DWM,

2011 WL 1897183, at *2 (D. Mont. May 10, 2011). Indeed, the United States

Supreme Court has stated, “[i]t is a general principle of corporate law deeply

‘ingrained in our economic and legal systems’ that a parent corporation (so-called

because of control through ownership of another corporation’s stock) is not liable

for the acts of its subsidiaries.” United States v. Bestfoods, 524 U.S. 51, 61, 118 S.


                                           6
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 7 of 19



Ct. 1876, 1884, 141 L. Ed. 2d 43 (1998) (quoting Douglas & Shanks, Insulation

from Liability Through Subsidiary Corporations, 39 Yale L.J. 193 (1929)).

“Limited liability is the rule not the exception.” Anderson v. Abbott, 321 U.S. 349,

362, 64 S. Ct. 531, 537, 88 L. Ed. 793 (1944).

      However, a court may hold a parent corporation liable for the actions of its

subsidiary under the doctrine of piercing the corporate veil. Hando v. PPG Indus.,

Inc., 236 Mont. 493, 498, 771 P.2d 956, 960 (1989). The Montana Supreme Court

has developed a two-part test for piercing the corporate veil: “(1) [t]he corporation

must be a mere agent or alter ego of the parent company; and (2) the corporate

cloak must have been used to defeat public convenience, justify wrong, perpetrate

fraud, or to defend crime.” Id.

      Under the first part of the test, a corporation “may be the mere agent of a

parent company for a particular transaction if the parent company exercises control

over the conduct and activities of the subsidiary so that in effect the subsidiary is

merely acting on behalf of the parent.” Id. Alternatively, it may be an “alter ego

of the parent corporation if the corporate affairs of both are so intertwined that, in

effect, each no longer has a separate identity.” Id. The Montana Supreme Court

had identified several factors to determine whether a subsidiary is a corporation's

alter ego:

      The full ownership of a subsidiary, use of the same people as directors
      and officers in both corporations, and engagement in the same general
                                           7
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 8 of 19



      business enterprise may all be insufficient to indicate the subsidiary is
      merely an alter ego. Courts also look at such factors as the same type
      of day-to-day business activities of each corporation, sharing of the
      same address or name, the commingling of funds, undercapitalization
      of the subsidiary and failure to maintain separate business records.

Hando, 771 P.2d at 960 (internal citations omitted).

      In her Amended Complaint, Plaintiff makes three allegations to support her

claim for piercing the corporate veil: (1) that Genesis and Peak share the same

address, (2) the two entities operate the same type of business, and (3) Butte Center

uses a code of conduct copyrighted by Genesis. Doc. 28, Amend. Compl., ¶ 11.

While the Montana Supreme Court has reviewed the first two factors when

determining whether to pierce the corporate veil, the Montana Supreme Court has

determined these two factors alone—sharing an address and operating the same

type of business—are insufficient to “abrogat[e] a corporation’s limited liability.”

Flemmer v. Ming, 190 Mont. 403, 409–10, 621 P.2d 1038, 1042 (1980). Thus,

Plaintiff would need to allege that other factors are at play in this matter in order to

demonstrate Peak is merely Genesis’s alter ego.

      The only other allegation Plaintiff makes in her Amended Complaint is that

Butte Center uses a code of conduct copyrighted by Genesis. However, courts

have consistently determined that, as a matter of law, a parent supplying a code of

conduct for a subsidiary to use does not warrant piercing the corporate veil. See

Byard v. Verizon W. Virginia, Inc., No. 1:11CV132, 2012 WL 1085775, at *12

                                           8
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 9 of 19



(N.D.W. Va. Mar. 30, 2012) (determining a “Code of Conduct” outlining general

corporate policy is a “hallmark[] of an ordinary parent-subsidiary relationship and,

without more, cannot justify piercing the corporate veil or establishing personal

jurisdiction over a parent corporation”); DeLia v. Verizon Commc'ns, Inc., 258

F.R.D. 189, 192 (D. Mass. 2009) (plaintiff could not support her piercing the

corporate veil claim against Verizon Communications, Inc. where she offered “no

support for her assertion other than the facts that 1) her pay stubs contained

Verizon’s logo and 2) Verizon’s Code of Conduct expressly applies to its

subsidiaries”); Joiner v. Ryder Sys. Inc., 966 F. Supp. 1478, 1485-86 (C.D. Ill.

1996) (parent's “implementation of a safety policy, an environmental policy, a code

of conduct, and a code of ethics” did not demonstrate “improper control” justifying

the court's piercing the corporate veil, but rather demonstrated “sound business

judgment by a parent corporation”); Fletcher v. Atex, Inc., 861 F. Supp. 242, 245

(S.D.N.Y. 1994), aff'd, 68 F.3d 1451 (2d Cir. 1995) (veil piercing inappropriate as

“it is entirely appropriate for a parent corporation to approve major. . . policies

involving the subsidiary, and for employees of the parent and subsidiary

corporations to meet periodically to discuss business matters”). Plaintiff has failed

to allege facts sufficient to support a claim under Montana law that Peak merely is

Genesis’s alter ego.




                                           9
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 10 of 19



        Further, Plaintiff has pled no facts related to the second part of Montana’s

test regarding piercing the corporate veil, i.e., that Genesis used its “corporate

cloak” to “defeat public convenience, justify wrong, perpetrate fraud, or to defend

crime.” Hando, 236 Mont. at 498, 771 P.2d at 960. Indeed, “[f]orming

subsidiaries to limit liability is not improper, there must be abuse of the corporate

form resulting in injustice.” Signal Peak Energy, LLC v. E. Montana Minerals,

Inc., 922 F. Supp. 2d 1142, 1150 (D. Mont. 2013). Without any specific

allegations that Genesis used Peak to justify wrong, perpetuate fraud, or defend

crime, Plaintiff has, as a matter of law, failed to state a claim against Genesis under

the theory of piercing the corporate veil. Conclusory allegations and unwarranted

inferences are insufficient to defeat a motion to dismiss. Johnson, 653 F.3d at

1010.

        Plaintiff has failed to state a claim against Genesis upon which relief can be

granted. Plaintiff’s Amended Complaint should be dismissed pursuant to

Fed. R. Civ. P. 12(b)(6).

II.     PLAINTIFF’S CLAIM AGAINST GENESIS SHOULD BE
        DISMISSED FOR LACK OF PERSONAL JURISDICTION.

        The Court has no personal jurisdiction over Genesis. This claim should be

dismissed pursuant to Fed. R. Civ. P. 12(b)(2).

        “Federal courts ordinarily follow state law in determining the bounds of their

jurisdiction over persons.” Picot v. Weston, 780 F.3d 1206, 1211 (9th Cir. 2015)
                                           10
          Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 11 of 19



(quoting Daimler AG v. Bauman, –––U.S. ––––, 134 S.Ct. 746, 753, 187 L.Ed.2d

624 (2014)). The Montana Supreme Court, in Milky Whey, Inc. v. Dairy Partners,

LLC, 2015 MT 18, ¶ 18, 378 Mont. 75, 342 P.3d 13, outlined a two-step test for

Montana courts to employ when considering whether a court has personal

jurisdiction over a defendant:

          We first determine whether personal jurisdiction exists under
          M. R. Civ. P. 4(b)(1). Personal jurisdiction may exist under Rule
          4(b)(1) in one of two ways: a party may be found within the state of
          Montana and subject to general jurisdiction, or the claim for relief
          may arise from any of the acts listed in Rule 4(b)(1)(A-G) and create
          specific jurisdiction for the purpose of litigating that particular claim.
          If personal jurisdiction exists under the first step of the test, we then
          determine whether the exercise of personal jurisdiction conforms with
          the traditional notions of fair play and substantial justice embodied in
          the due process clause. If personal jurisdiction does not exist under the
          first part of the test, further analysis under the second part of the test is
          unnecessary.
Id. (internal citations omitted). Montana Rule of Civil Procedure 4(b)(1)

states:

          (b) Jurisdiction of Persons.
          (1) Subject to Jurisdiction. All persons found within the state of
          Montana are subject to the jurisdiction of Montana courts.
          Additionally, any person is subject to the jurisdiction of Montana
          courts as to any claim for relief arising from the doing personally, or
          through an employee or agent, of any of the following acts:
                (A) the transaction of any business within Montana;
                (B) the commission of any act resulting in accrual within
                Montana of a tort action;
                (C) the ownership, use, or possession of any property, or of any
                interest therein, situated within Montana;
                (D) contracting to insure any person, property, or risk located
                within Montana at the time of contracting;

                                               11
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 12 of 19



             (E) entering into a contract for services to be rendered or for
             materials to be furnished in Montana by such person;
             (F) acting as director, manager, trustee, or other officer of a
             corporation organized under the laws of, or having its principal
             place of business within, Montana; or
             (G) acting as personal representative of any estate within
             Montana.

None of the provisions of Rule 4(b)(1) apply here. Genesis is a Delaware

Corporation with its principal place of business in California. Doc. 12-1, Clark

Affidavit, ¶ 4; Ex. 6 attached thereto, Delaware Entity Details for Genesis; see

also, Doc. 28, Amend. Compl., ¶ 6. Genesis has no physical presence in Montana.

Doc. 12-1, Clark Affidavit, ¶ 4. Specifically, Genesis is not registered with the

Montana Secretary of State to conduct business in Montana; it does not have an

office or other facilities in Montana; it does not have a telephone listing in

Montana; it does not have employees in Montana; and it does not own real estate in

Montana. Id., ¶ 6; see also Bedrejo v. Triple E Canada, Ltd., 1999 MT 200, ¶¶ 11-

12, 295 Mont. 430, 984 P.2d 739 (stating these are “significant” factors for

determining whether general jurisdiction exists). As personal jurisdiction does not

exist under the first step of the Montana Supreme Court’s test as set forth in Milky

Whey, further analysis under the second part of the test is unnecessary. Id., ¶ 18.

      Plaintiff previously filed an Amended Motion to Remand on July 11, 2016.

Doc. 16, Amend. Mot. to Remand. In the Brief in support of that Motion, Plaintiff

argued this Court has personal jurisdiction over Genesis under Montana’s long-arm

                                          12
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 13 of 19



statute. Doc. 17, Br. in Support of Amend. Mot. to Remand , 3-9. Plaintiff

conflated Genesis and Peak and argued the Court has jurisdiction over Genesis

because Peak is Genesis’s subsidiary. Id.

       Genesis responded to Plaintiff’s brief on July 25, 2016. Doc. 24, Resp. to

Amend. Mot. for Remand, 10-12. Genesis incorporates the arguments from its

July 25, 2016, brief here. As addressed in Genesis’s response brief, “[t]he

existence of a parent-subsidiary relationship is insufficient to establish personal

jurisdiction over Companies.” Transure, Inc. v. Marsh & McLennan, Inc., 766

F.2d 1297, 1299 (9th Cir. 1985). A court cannot exercise personal jurisdiction

over a parent corporation solely because it could exercise jurisdiction over its

subsidiary. Id. Genesis and Peak are separate corporate entities. Contrary to

Plaintiff’s allegations, just because the Court has jurisdiction over Peak does not

mean it also has jurisdiction over Genesis. Peak is not Genesis’s alter ego, and, as

addressed above, Plaintiff has not alleged sufficient facts to the contrary. Plaintiff

has failed to establish that personal jurisdiction exists under Montana’s long-arm

statute. The Court lacks personal jurisdiction over Genesis.

III.   PLAINTIFF’S CLAIM AGAINST GENESIS SHOULD BE
       DISMISSED FOR INSUFFICIENT PROCESS AND SERVICE OF
       PROCESS.

       Plaintiff has never properly served Genesis with a summons and/or




                                          13
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 14 of 19



complaint in this matter. Plaintiff only has mailed a summons to Peak’s agents,

but not Genesis. See Ex. A, Fourth Clark Affidavit, ¶ 2.

      Federal Rule of Civil Procedure 12(b)(4) allows a defendant to move for

dismissal for insufficient process. Rule 12(b)(5) “allows a defendant to move to

dismiss the action where the service of process of a summons and complaint is

insufficient.” Zamora v. I.R.S., 15 F.3d 1095 (9th Cir. 1993) (citing Fed. R. Civ. P.

12(b)(5)). A summons must “name the court and the parties” and must “be

directed to the defendant.” Fed. R. Civ. P. 4(a)(1)(A)-(B) (emphasis added).

Pursuant to Fed. R. Civ. P. 4(h), a plaintiff must serve a corporation by delivering a

copy of the summons of the complaint to an “officer, a managing or general agent,

or any other agent authorized by appointment or by law to receive service of

process.” Fed. R. Civ. P. 4(h)(1)(B).

      On June 6, 2016, Plaintiff mailed a summons and complaint to Genesis

Healthcare, Inc. which named “Genesis Healthcare, Inc., d/b/a the Butte Center”

as a Defendant. See Doc. 12- 1, Clark Affidavit, ¶ 3, Ex. 5 attached thereto, June

6, 2016 Summons (emphasis added). However, “Butte Center” is not the

registered assumed business name of Genesis. The name is registered to Peak.

Plaintiff identified the wrong entity and did not correctly direct her summons to

Genesis in violation of Fed. R. Civ. P. 4(a).




                                         14
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 15 of 19



      Further, Plaintiff mailed the service documents to the wrong entity. She sent

the summons and complaint to Corporation Service Company at 26 West Sixth

Avenue in Helena, Montana 59601. See Doc. 12-1, Clark Affidavit, ¶ 3; Ex. 5

attached thereto, June 6, 2016 Summons. Genesis does not have a business

address in Montana as it is not incorporated or registered as a foreign corporation

in Montana. See Id., ¶ 4. Plaintiff addressed the summons to Peak’s registered

agent in Montana. See Id., ¶ 2; Ex. 4, Montana Entity Details for Peak.

Accordingly, Plaintiff has violated the provisions of Fed. R. Civ. P. 4(h) by failing

to serve a Genesis “officer, a managing or general agent, or any other agent

authorized by appointment or by law to receive service of process.” Fed. R. Civ.

P. 4(h). To date, Plaintiff has not served a summons and her original Complaint or

Amended Complaint on Genesis as required by the Federal Rules of Civil

Procedure.

      In the Amended Motion to Remand she filed on July 11, 2016, Plaintiff

argued service on Peak was sufficient as Peak is Genesis’s subsidiary. Doc. 17,

Amend. Mot. to Remand, 9-10. She alleged service on a subsidiary is sufficient

for service on a parent. Id. However, as Peak and Genesis addressed in their

Response to Plaintiff’s Motion, under Montana law, service on a subsidiary is

insufficient. Doc. 24, Resp. to Amend. Mot. for Remand, 12-16. Genesis

incorporates the arguments from Peak and Genesis’s Response Brief here. Id.


                                         15
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 16 of 19



      “Generally, service on a parent, subsidiary, cosubsidiary, or affiliate of a

corporate defendant is not service on the defendant.” Carl Kelley Const. LLC v.

Danco Techs., 656 F. Supp. 2d 1323, 1336 (D.N.M. 2009); Delta Constructors,

Inc. v. Roediger Vacuum, GmbH, 259 F.R.D. 245, 249 (S.D. Miss. 2009); see also

United Merch. Wholesale, Inc. v. IFFCO, Inc., 51 F. Supp. 3d 249, 260 (E.D.N.Y.

2014) (“Plaintiff was still required to serve process separately on International in

order to make International a party to this action.”); In re Crespo, 475 N.Y.S.2d

319, 323 (N.Y. Sup. Ct. 1984) (“It is hornbook law that service on a subsidiary

does not constitute service on a parent corporation . . . ”); U.S. ex rel. Thomas v.

Siemens AG, 708 F. Supp. 2d 505, 519 (E.D. Pa. 2010) (“[T]he parent-subsidiary

relationship alone does not establish agency, making service on one service on the

other if the two maintain separate identities”).

      The Montana Supreme Court likewise has determined service on a

subsidiary is insufficient for service on a parent. In Hadford v. Credit Bureau of

Havre, Inc., 1998 MT 179, 289 Mont. 529, 962 P.2d 1198, the plaintiff filed an

action against Big Sky Billing Service, Inc. (“Big Sky”) and obtained default

judgment. Id., ¶¶ 5-6. She later sought to apply the judgment to Credit Bureau of

Havre, Inc. (“Credit Bureau”), an entity she contended was Big Sky’s alter ego. Id.

The plaintiff argued that service on Big Sky constituted service on Credit Bureau.

Id., ¶ 17. The Montana Supreme Court rejected the argument. Id. The Court


                                          16
        Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 17 of 19



adhered to the “general rule that service on the parent, subsidiary or affiliate of a

corporate defendant generally does not constitute service on the defendant.” Id.,

¶ 19.

        The Montana Supreme Court acknowledged an exception described in

62B Am.Jur.2d, Process, § 284, p. 977-78, where two entities have “interlocking

management” and have “disregarded separate corporate forms.” Hadford, ¶ 18.

But Plaintiff has not provided any evidence of “interlocking management” or

disregard of “separate corporate forms.” Id. As addressed in sections I and II of

this brief, Genesis and Peak are separate corporate entities.

        To date, Plaintiff still has not served Genesis with either her original

Complaint or her Amended Complaint. Plaintiff’s Amended Complaint should be

dismissed for insufficient process and service of process pursuant to Fed. R. Civ. P.

12(b)(4) and 12(b)(5).

                                    CONCLUSION

        Genesis respectfully requests the Court dismiss Plaintiff’s Amended

Complaint against Genesis with prejudice pursuant to Fed. R. Civ. P. 12(b)(2),

12(b)(4), 12(b)(5), and 12(b)(6). First, Plaintiff has failed to state a claim upon

which relief can be granted as Plaintiff has failed to allege sufficient facts to pierce

the corporate veil under Montana law. Second, the Court has no personal

jurisdiction as Genesis does not do business in Montana. Third, Plaintiff served


                                           17
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 18 of 19



the wrong persons and corporations and, accordingly, failed to sufficiently serve

Genesis. Indeed, to date, Plaintiff has not served Genesis with a summons and her

original Complaint or her Amended Complaint. Genesis requests the Court

dismiss Plaintiff’s Amended Complaint with prejudice.

      Dated this18th day of August, 2016.

                                      CROWLEY FLECK PLLP

                                      /s/ Brett P. Clark
                                             Kiely Keane
                                             Brett P. Clark
                                             Charles K. Smith
                                             Attorneys for Genesis HealthCare,
                                             Inc.




                                        18
       Case 2:16-cv-00030-SEH Document 39 Filed 08/18/16 Page 19 of 19



                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(d)(2)(E) of the Montana United States District

Court, I certify that this Brief contains 3,985 words (as counted by Microsoft Word

2013), excluding caption, certificates of service and compliance, is double spaced,

typed in Times New Roman, and printed in at least 14 point font.

      DATED this 18th day of August, 2016.


                                      CROWLEY FLECK PLLP


                                      /s/ Brett P. Clark
                                             Kiely Keane
                                             Brett P. Clark
                                             Charles K. Smith
                                             Attorneys for Genesis HealthCare,
                                             Inc.




                                        19
